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  1   P. Kristofer Strojnik, SBN 242728
      Law Offices of Peter Strojnik
  2   pstrojnik@strojniklaw.com
  3   Esplanade Center III, Suite 700
      2415 East Camelback Road
  4   Phoenix, Arizona 85016
  5   415.450.0100 (tel.)

  6   Attorneys for Plaintiff
  7                              UNITED STATES DISTRICT COURT
  8
                               CENTRAL DISTRICT OF CALIFORNIA
  9
      THERESA BROOKE, a married woman
10
      dealing with her sole and separate claim,      Case No:
11
                              Plaintiff,             VERIFIED COMPLAINT
12
13    vs.                                            (JURY TRIAL DEMANDED)

14    ANAHEIM COACHMAN INN LLC, a
      California limited liability company dba
15
      Holiday Inn Express & Suites Corona,
16
                              Defendant.
17
18           Plaintiff Theresa Marie Brooke alleges:

19                                             PARTIES

20           1.      Plaintiff Theresa Brooke is a married woman. Plaintiff is legally disabled,

21    and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2),

22    the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the

23    California Unruh Civil Rights Act. Plaintiff ambulates with the aid of a wheelchair due

24    to the loss of a leg.

25           2.      Defendant, Anaheim Coachman Inn LLC, owns and/or operates and does

26    business as the hotel Holiday Inn Express & Suites Corona located at 1550 Circle City

27    Drive in Corona, California. Defendant’s hotel is a public accommodation pursuant to

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  1   42 U.S.C. § 12181(7)(A), which offers public lodging services. On information and
  2   belief, Defendant’s hotel was built or renovated after March 15, 2012.
  3                                          JURISDICTION
  4          3.      Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42
  5   U.S.C. § 12188.
  6          4.      Plaintiff’s claims asserted herein arose in this judicial district and
  7   Defendant does substantial business in this judicial district.
  8          5.      Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
  9   in that this is the judicial district in which a substantial part of the acts and omissions
10    giving rise to the claims occurred.
11                                           ALLEGATIONS
12           6.      Plaintiff alleges that Defendant’s hotel does not have an access aisle at the
13    passenger loading zone adjacent to the hotel lobby in violation of Section 503 of the
14    2010 Standards.
15           7.      Plaintiff formerly worked in the hospitality industry and her husband
16    works in the travel industry. She and her husband are avid travelers to California for
17    purposes of leisure travel and to “test” whether various hotels comply with disability
18    access laws.
19           8.      Plaintiff and her husband traveled to Los Angeles and Orange County in
20    earlier this year for purposes of leisure and to test accessibility at local hotels in
21    anticipation of a further month-long trip to Pasadena area, Los Angeles and Orange
22    County in June of this year.
23           9.      During this trip, Plaintiff personally visited Defendant’s hotel.
24    Defendant’s hotel has a passenger loading zone because the pickup and dropoff area
25    directly outside of the lobby is designed and intended as a loading zone.
26           10.     While at Defendant’s hotel, she discovered that Defendant’s hotel has a
27    barrier to entry, which is that the passenger loading zone does not have an access aisle.
28    The requirement of an access aisle at a passenger loading zone relates to Plaintiff’s


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  1   disability of not having one leg and being forced to use a wheelchair because access
  2   aisles are required so persons in a wheelchair can maneuver without threat of danger
  3   from other vehicles and without other encumbrances blocking their pathway. The
  4   lobby, therefore, is inaccessible to Plaintiff by way of the passenger loading zone
  5   because there is no access aisle.
  6          11.     Plaintiff gained actual and personal knowledge of a barrier while visiting
  7   Defendant’s hotel, and as a result, she was deterred from entering the hotel. She will not
  8   re-visit the hotel until notice is provided of remediation. Returning would be futile, and
  9   since she will not return until remediation is provided, a repeat of the injury is not
10    possible. She is hopeful that by the time she returns in October of this year, Defendant’s
11    hotel will have removed the barrier so that she can freely and equally enter the lobby
12    from the passenger loading zone.
13           12.     An illustration of a correct access aisle is provided below:
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15
16
17
18
19           13.     The following photograph shows what a correct access aisle (arrow
20    pointing to it) looks like:
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  1
             14.    Defendant’s hotel passenger loading zone does not have the access aisle
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      depicted in the illustration and photograph in Paragraphs 12 and 13 above. Plaintiff has
  3
      documented the violation.
  4
             15.    Should Defendant provide an access aisle prior to Plaintiff’s October trip,
  5
      she will return to the hotel and access the hotel as other able-bodied patrons are able to
  6
      do.
  7
             16.    It is readily achievable to modify the hotel to provide an access aisle.
  8
      Provision of an access aisle is extremely inexpensive.
  9
             17.    Without injunctive relief, Plaintiff and others will continue to be unable to
10
      independently use Defendant’s hotel in violation of her rights under the ADA.
11
                                      FIRST CAUSE OF ACTION
12
13           18.    Plaintiff incorporates all allegations heretofore set forth.

14           19.    Defendant has discriminated against Plaintiff and others in that it has

15    failed to make its public lodging services fully accessible to, and independently usable

16    by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §

17    121282(b)(2)(iv) and the 2010 Standards, as described above.

18           20.    Defendant has discriminated against Plaintiff in that it has failed to

19    remove architectural barriers to make its lodging services fully accessible to, and

20    independently usable by individuals who are disabled in violation of 42 U.S.C.

21    §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the

22    2010 Standards would neither fundamentally alter the nature of Defendant’s lodging

23    services nor result in an undue burden to Defendant.

24           21.    In violation of the 2010 Standards, Defendant’s hotel passenger loading

25    zone does not have a disability access aisle as required by Section 503 of the Standards.

26           22.    Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,

27    as described above, is readily achievable by the Defendant. Id. Readily achievable

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  1   means that providing access is easily accomplishable without significant difficulty or
  2   expense.
  3          23.      Defendant’s conduct is ongoing, and Plaintiff invokes her statutory right
  4   to declaratory and injunctive relief, as well as costs and attorneys’ fees.
  5          24.      Without the requested injunctive relief, Defendant’s non-compliance with
  6   the ADA’s requirements that its passenger loading zone be fully accessible to, and
  7   independently useable by, disabled people is likely to recur.
  8          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
  9                a. Declaratory Judgment that at the commencement of this action Defendant
                      was in violation of the specific requirements of Title III of the ADA
10                    described above, and the relevant implementing regulations of the ADA;
11
                   b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
12                    36.504(a) which directs Defendant to take all steps necessary to bring its
13                    passenger loading zone into full compliance with the requirements set
                      forth in the ADA;
14
                   c. Payment of costs and attorney’s fees;
15
16                 d. Provision of whatever other relief the Court deems just, equitable and
                      appropriate.
17
                                       SECOND CAUSE OF ACTION
18
19           25.      Plaintiff realleges all allegations heretofore set forth.
20           26.      Defendant has violated the Unruh by denying Plaintiff equal access to its
21    public accommodation on the basis of her disability as outlined above.
22           27.      Unruh provides for declaratory and monetary relief to “aggrieved
23    persons” who suffer from discrimination on the basis of their disability.
24           28.      Plaintiff has been damaged by the Defendant’s non-compliance with
25    Unruh.
26           29.      Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other
27    relief as the Court considers appropriate, including monetary damages in an amount of
28    $4,000.00, and not more.


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  1          30.      Pursuant to Unruh, Plaintiff is entitled to attorney’s fees and costs in an
  2   amount to be proven at trial.
  3          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
  4                a. Declaratory Judgment that at the commencement of this action Defendant
                      was in violation of the specific requirements of Unruh; and
  5
  6                b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
                      36.504(a) which directs Defendant to take all steps necessary to bring its
  7                   passenger loading zone into full compliance with the requirements set
  8                   forth in the ADA;

  9                c. Payment of costs and attorney’s fees;
10                 d. Damages in the amount of $4,000.00, the statutory minimum, and not
11                    more; and

12                 e. Provision of whatever other relief the Court deems just, equitable and
                      appropriate.
13
                                     DEMAND FOR JURY TRIAL
14
             Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby
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      demands a jury trial on issues triable by a jury.
16
17
             RESPECTFULLY SUBMITTED this 1st day of August, 2021.
18
                                                 /s/ P. Kristofer Strojnik
19                                               P. Kristofer Strojnik (242728)
20                                               Attorneys for Plaintiff

21                                           VERIFICATION
22
             I declare under penalty of perjury that the foregoing is true and correct.
23
                             DATED this 1st day of August, 2021.
24
25
26
27
28           Theresa Marie Brooke


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